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Exhibit A
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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                         BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA                )
MAPLEY,                                     )
            Plaintiffs,                     )   Case No. CV-20-52-BLG-SPW
    vs.                                     )
                                            )
WATCHTOWER BIBLE AND TRACT                  )       SECOND AMENDED
SOCIETY OF NEW YORK, INC., and              )      COMPLAINT AND JURY
WATCH TOWER BIBLE AND TRACT                 )           DEMAND
SOCIETY OF PENNSYLVANIA
                                            )
              Defendants.,
                                            )
WATCHTOWER BIBLE AND TRACT                  )
SOCIETY OF NEW YORK, INC., and              )
WATCH TOWER BIBLE AND TRACT                 )
SOCIETY OF PENNSYLVANIA                     )
                                            )
                   Cross Claimants,         )
                                            )
    vs.                                     )
                                            )
BRUCE MAPLEY, SR.,                          )
            Cross Defendant.                )
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      COMES NOW the Plaintiffs, Tracy Caekaert (“Caekaert”) and Camillia

Mapley (“Mapley”), by and through undersigned counsel, and for their causes of

action and claims for relief against the Defendants, state and allege as follows:

                      I. PARTIES, JURISDICTION & VENUE

   1. Upon initiation of this case, Caekaert was a citizen and resident of Maricopa

      County, Arizona. Caekaert is now a citizen and resident of White County,

      Arkansas.

   2. Mapley is a citizen and resident of Australia.

   3. During all times relevant, Defendant Watchtower Bible and Tract Society of

      New York, Inc. (“Watchtower NY”) is and was a New York corporation

      conducting business in the State of Montana, with its principal place of

      business in New York.

   4. During all times relevant, Defendant Watch Tower Bible and Tract Society

      of Pennsylvania Inc. (“Watchtower PA”) is and was a Pennsylvania

      corporation conducting business in the State of Montana, with its principal

      place of business in New York.

   5. During all times relevant, the events and claims described in this Complaint

      occurred in Big Horn County, Montana.

   6. This Court has original subject matter jurisdiction over this case pursuant to

      28 U.S.C. § 1332 due to the diversity of citizenship of the parties hereto, and

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         by virtue of the fact that the amount in controversy exceeds the sum of

         seventy-five thousand dollars ($75,000.00), exclusive of interest and costs.

      7. This Court may properly maintain personal jurisdiction over Watchtower

         NY and Watchtower PA because they are business entities operating in the

         State of Montana and this judicial district who’s acts and omissions resulted

         in the accrual of the tort actions plead below, were directly involved in the

         acts and omissions at issue in this case, and their presence in and contacts

         with the State of Montana and this judicial district are sufficient to support

         an exercise of jurisdiction that comports with traditional notions of fair play

         and substantial justice.

      8. This Court may properly maintain personal jurisdiction over Mapley Sr.

         because his acts and omissions within this federal judicial district resulted in

         the accrual of the tort actions plead below, and his presence in and contacts

         with the State of Montana and this judicial district are sufficient to support

         an exercise of jurisdiction that comports with traditional notions of fair play

         and substantial justice.

      9. Venue is proper under 28 U.S.C. § 1391 in that a substantial part of the

         events or omissions giving rise to these claims occurred in this judicial

         district.

///

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                   II. FACTS COMMON TO ALL CLAIMS

At all times relevant to the claims made herein:

10.The Jehovah’s Witness Church (“Church”) is structured hierarchically.

11.The Church was governed and controlled by a group of men referred to as

   the Governing Body.

12.New members of the Church are given the title of Unbaptized Publisher.

13.Unbaptized Publishers can be promoted sequentially to Baptized Publisher,

   Ministerial Servant, and finally, Elder.

14.In each promotion, the local congregation recommends members for

   promotion, and Watchtower NY ultimately decides whether to promote a

   member after vetting the member.

15.Baptized Publishers, Ministerial Servants, and Elders are all agents of their

   local congregation and Watchtower NY and PA.

16.The Church organized Watchtower PA and Watchtower NY to carry out its

   work in the United States, including Montana.

17.According to the 1977 Branch Organization Manual, Watchtower PA was

   the parent corporate agency of the Jehovah’s Witnesses, whose stated

   purpose was to act as the legal world-wide governing agency for the Church

   that directed the administrative and religious work of Jehovah’s Witnesses

   worldwide.

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18.According to the 1977 Branch Organization Manual, to achieve its

   purposes, Watchtower PA worked in concert with subsidiary legal agencies,

   including Watchtower NY.

19.The same group of men who governed and controlled the Governing Body,

   also governed and controlled Watchtower PA, and Watchtower NY.

20.Watchtower PA and Watchtower NY shared offices.

21.Watchtower PA and Watchtower NY shared a legal department.

22.Watchtower PA and Watchtower NY had unified administrative authority.

23.Watchtower PA and Watchtower NY conducted business and transactions

   that were not at arm’s length.

24.Watchtower PA and Watchtower NY share nearly identical trade names.

25.Watchtower PA and Watchtower NY held themselves out to the public in a

   way that was not distinguishable.

26.Watchtower PA and Watchtower NY shared the same employees and

   volunteers to carry out their work.

27.Watchtower PA and Watchtower NY represented themselves as a single

   business.

28.The operations, resources, control, and ownership of Watchtower PA and

   Watchtower NY were so integrated that they were effectively acting as a



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   single entity to carry out the common purpose directing the administrative

   and religious purposes of the Church.

29.Watchtower PA and Watchtower NY worked in concert to create and

   transmit Church policy and doctrine to local congregations and members.

30.Watchtower PA and Watchtower NY worked in concert to instruct Church

   members to report wrongdoing to their local Elders, rather than reporting

   such conduct to law enforcement.

31.Watchtower PA and Watchtower NY worked in concert to control how

   allegations of child sexual abuse committed by church members were

   handled.

32.Watchtower PA and Watchtower NY worked in concert to instruct and

   command the Church’s local congregations to not report child sexual abuse

   to law enforcement or child protective services.

33.Watchtower PA and Watchtower NY worked in concert to create, adopt and

   enforce a set of policies and practices for the investigation, prosecution, and

   punishment of church members that are accused of sexual abuse (the

   “Watchtower Protocols”).

34.Records of Watchtower’s Protocols are maintained by both the local

   congregation and the Church.



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35.Pursuant to the Watchtower Protocols, when a local congregation’s Elders

   determine that allegations of sexual abuse are true, they are instructed to not

   report it to law enforcement and thereby keep it secret.

36.Pursuant to the Watchtower Protocols, when a local congregation’s Elders

   determine that allegations of sexual abuse are true, they institute one of three

   types of punishment: private reproof, public reproof, or disfellowship.

37.Pursuant to the Watchtower Protocols, when a local congregation’s Elders

   determine that allegations of sexual abuse are true the Elders merely

   announce to the local congregation that the member is being punished,

   without telling the local members what the punishment is for or warning its

   members that the person being punished is a sexual abuser.

38.Pursuant to the Watchtower Protocols, when a local congregation’s Elders

   determine that allegations of sexual abuse are true, Watchtower NY permits

   the sexual abuser to rejoin the church without restrictions or warnings to

   others.

39.Watchtower’s Protocols have been instituted by Watchtower NY and

   Watchtower PA to supplant the mandatory reporting requirements of

   Montana with its own policy of secrecy of, and tolerance for, child sexual

   abuse.



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40.By prohibiting church members from reporting sexual abuse to law

   enforcement and enacting its own Watchtower Protocols, Watchtower NY

   and Watchtower PA have accepted the unique and special responsibility of

   protecting minors from sexual predators.

41.The Watchtower Protocols are intended to protect the reputation of the

   church rather than protect people from sexual predators.

42.The Watchtower Protocols fail to take any reasonable steps to protect

   Church members and members of the public, including Plaintiffs, from child

   sexual abuse.

43.The Watchtower Protocols published materials instructed Church members

   to not report child abuse to law enforcement effectively protecting sexual

   predators and fostering an environment within the Church that encouraged

   childhood sexual abuse without consequence.

44.Watchtower PA and Watchtower NY acted in concert as a single enterprise

   to achieve a common purpose, including perpetuation of the Watchtower

   Protocols and asserting control over the manner in which local

   congregations, including the Hardin congregation, handled allegations of

   child sex abuse.




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45.Watchtower PA and Watchtower NY are the alter egos of each other that

   have been used as a subterfuge to defeat public convenience, justify wrong,

   and/or perpetuate fraud, such that piercing the corporate veil is appropriate.

46.To the extent that there was any actual difference between Watchtower PA

   and Watchtower NY, they acted as agents of each other to achieve their

   common purpose, including perpetuation of the Watchtower Protocols and

   asserting control over the manner in which local congregations, including

   the Hardin congregation, handled allegations of child sex abuse.

47.To the extent that there was any actual difference between Watchtower PA

   and Watchtower NY, they had an implied or express agreement that created

   a joint venture to achieve a common purpose, including perpetuation of the

   Watchtower Protocols and asserting control over the manner in which local

   congregations, including the Hardin congregation, handled allegations of

   child sex abuse.

48.Failure to treat the acts of Watchtower PA and Watchtower NY as one

   enterprise would result in injustice.

49.Watchtower PA and Watchtower NY had an express or implied agreement

   creating a joint venture, a common purpose, a community of interest, and an

   equal right to control the venture.



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50.Bruce Mapley Sr. (“Mapley Sr.”) and his family, including Caekaert and

   Mapley, joined the Hardin, Montana Congregation of Jehovah Witnesses

   (“Hardin Congregation”) in or around 1973 after being recruited by Gunner

   Haines (“Haines”) and his wife, Joyce Haines.

51.At that time, Mapley Sr. had been sexually abusing Plaintiffs approximately

   twice a week for several years. The abuse occurred whenever Shirley

   Mapley left the house and generally consisted of forced oral sex and

   fondling the girls’ genitals.

52.Mapley Sr. used intimidation, threats, and force to ensure Plaintiffs were

   both compliant and remained silent about the sexual abuse.

53.Haines sexually abused Plaintiffs in his home sometime in 1976 or 1977.

54.The abuse consisted of forced oral sex on Caekaert who was approximately

   11 years old at the time. Aff. of Shirley Gibson, ¶ 3, March 26, 2020

   (attached as Exhibit A).

55.Shortly after being sexually abused by Haines, and before 1979, Caekaert

   informed Mapley Sr. of the sexual abuse inflicted by Haines.

56. Shortly after Caekaert reported Haines’ sexual abuse and before 1979,

   Haines confessed to the Elders of the Hardin Congregation that he had

   assaulted Caekaert. Ex. A at ¶ 4.



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57.At that time or shortly thereafter, Mapley Sr. self-confessed to the Elders of

   the Hardin Congregation that he had also sexually abused Plaintiffs.

58.At the time of the events set forth herein, Mapley Sr. and Haines were both

   Ministerial Servants with the Hardin Congregation, and thus agents of the

   Church, when they were sexually abusing Plaintiffs.

59.Pursuant to the Watchtower Protocols, Elder Martin Svensen (“Svensen”)

   and two other Elders investigated the allegations of sexual abuse against

   Mapley Sr. and Haines.

60.At the time of the events set forth herein, Svensen was the Senior Elder of

   the Hardin Congregation and was himself engaged in serial sexual abuse of

   children. Aff. of James Rowland, ¶¶ 4, 7, April 14, 2020 (attached as

   Exhibit B).

61.At all times relevant, Svensen, Mapley Sr., and Haines were agents of

   Watchtower NY and Watchtower PA.

62.Pursuant to the Watchtower Protocols, Mapley Sr.’s and Haines’ serial

   sexual abuse of Plaintiffs was minimized and their punishment was

   negligible, which merely consisted of the Elders announcing to the Hardin

   Congregation that the men had committed a wrongdoing, without disclosing

   any details of the wrongdoing, and temporarily relieving the men of their

   positions and duties in the Church.

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63.Pursuant to the Watchtower Protocols, none of the Defendants, nor Svensen

   or Haines, reported the sexual abuse to law enforcement or child protective

   services as required by applicable law at the time. Ex. A at ¶ 4-5.

64.Pursuant to the Watchtower Protocols, and within a year of having admitted

   to abusing Caekaert, Mapley Sr. and Haines were permitted to rejoin the

   Church in positions of authority, and as agents and representatives of the

   church. Ex. A at ¶ 6.

65.Thereafter, and because the Watchtower Protocols protects sexual predators,

   Mapley Sr. continued to sexually abuse Caekaert and Mapley throughout

   their childhood.

66.By prohibiting disclosure of sexual abuse within the church to law

   enforcement, Watchtower NY and Watchtower PA failed to take reasonable

   steps to protect children in the community, including Plaintiffs, from

   continued and repeated sexual abuse.

67.By failing to adequately investigate and punish admitted instances of sexual

   abuse within the church, Watchtower NY and Watchtower PA failed to take

   reasonable steps to protect children in the community, including Plaintiffs,

   from continued and repeated sexual abuse.




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68.The Watchtower Protocols failed to enact and implement any reasonable

   steps to prevent the continued sexual abuse of Caekaert and Mapley, and

   thereby effectively permitted and sanctioned such abuse to continue.

69.As a result of the sexual abuse perpetrated by Mapley Sr. and Haines that

   went unreported and unhindered by Svensen and the Church, Caekaert and

   Mapley have suffered severe, debilitating, lifelong emotional and

   psychological damage.

70.Mapley Sr. admitted to the commission of the act of childhood sexual abuse

   against Plaintiffs and Defendant Watchtower NY or Defendant Watchtower

   PA has a record of this admission in its possession.

71.Plaintiffs can establish that officers, directors, officials, volunteers,

   representatives, and/or agents of Defendant Watchtower NY knew, had

   reason to know, or were otherwise on notice of widespread unlawful

   childhood sexual abuse by employees, officers, directors, officials,

   volunteers, representatives, and/or agents of the Church and Watchtower NY

   failed to take reasonable steps to prevent future acts of such unlawful sexual

   abuse.

72.Plaintiffs can establish that officers, directors, officials, volunteers,

   representatives, and/or agents of Defendant Watchtower PA knew, had

   reason to know, or were otherwise on notice of sexual abuse against

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   Plaintiffs by employees, officers, directors, officials, volunteers,

   representatives, and/or agents and failed to take reasonable steps to prevent

   future acts of such unlawful sexual abuse.

73.In 1997, the Church, through Watchtower NY and Watchtower PA,

   instructed elders to send a report to Watchtower NY of anyone who is

   currently serving or who formerly served in a Watchtower appointed

   position that is known to have engaged in childhood sexual abuse. Aff. Of

   Mark O’Donnell, ¶¶ 11-12, April 15, 2020 (attached as Exhibit C).

74.The Church maintains a complete file of these reports (the “Watchtower

   Sexual Abuse Database”). Ex. C at ¶ 13.

75.The Church keeps the Watchtower Sexual Abuse Database secret. Ex. C at

   ¶ 13.

76.Upon information and belief, the Church is in possession of the Watchtower

   Sexual Abuse Database and other documents that contain evidence that

   Mapley Sr. and Haines admitted to sexually abusing Plaintiffs.

77.Recently, in other child sexual abuse cases, Watchtower NY has refused to

   produce in discovery the Watchtower Sexual Abuse Database and other

   documents in its possession that document admissions of childhood sexual

   abuse by church agents and representatives. E.g. Padron v. Watchtower

   Bible & Tract Socy. of New York, Inc., 225 Cal. Rptr. 3d 81, 86 (Cal. App.

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   4th Dist. 2017); J.W. v. Watchtower Bible and Tract Socy. of New York, Inc.,

   241 Cal. Rptr. 3d 62, 67 (Cal. App. 4th Dist. 2018), reh'g denied (Dec. 31,

   2018), review denied (Mar. 27, 2019), cert. denied, 140 S. Ct. 217 (2019).

                                        III. CLAIMS

                                First Claim: Negligence
                                    (All Defendants)

78.All of the allegations contained in the preceding paragraphs of this

   Complaint are incorporated by reference herein as if the same were set forth

   in full.

79.Defendants owed Plaintiffs the duty to act with the care that a reasonable

   person would exercise.

80.Without limitation, Defendants Watchtower NY and Watchtower PA, acting

   in concert, breached such duty by: implementing the Watchtower Protocols;

   failing to take reasonable steps to prevent known and unknown sexual

   predators from sexually abusing children in the Church’s community;

   publishing material and directives that protected sexual predators within the

   Church and failed to protect victims of sexual abuse committed by agents

   and representatives of the Church; failing to report known sexual abuse

   committed by agents and representatives of the Church; ignoring mandatory

   reporting laws and keeping known child sex abuse secret; failing to train its


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   employees and agents to prevent, identify, investigate, respond to, or report

   to the proper authorities the sexual abuse of children; failing to properly and

   thoroughly investigate, respond to, and report the sexual abuse of Plaintiffs;

   employing, promoting, and allowing Svensen to continue to act as Senior

   Elder despite being a known child abuser; fostering an environment where

   sexual predators like Mapley Sr., Svenson, and Haines could abuse children,

   including the Plaintiffs, without consequence.

81.Defendants Watchtower NY and Watchtower PA are vicariously liable for

   the acts and omissions of each other and their agents that caused Plaintiffs’

   damages, including elders and ministerial servants of the Hardin

   Congregation, Circuit Overseers, and each other.

82. As a direct and proximate cause of Defendants’ breaches, and the breaches

   of their agents, Plaintiffs have suffered damages which cannot with

   reasonable certainty be divided among several causes.

                          Second Claim: Negligence Per Se
                                  (All Defendants)

83.All of the allegations contained in the preceding paragraphs of this

   Complaint are incorporated by reference herein as if the same were set forth

   in full.




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84.Defendants violated Montana’s mandatory reporting statute as it existed at

   all times relevant to this case, including all years before 1979, by not

   reporting the sexual abuse of Plaintiffs as required by the mandatory

   reporting statute. R.C.M. 10-1304 (attached as Exhibit D).

85.Montana’s mandatory reporting statute in effect at the time that Defendants

   became aware of such abuse was enacted to protect a specific class of

   people: children who are victims of abuse or neglect.

86.Plaintiffs were members of such class.

87.Plaintiffs’ injuries are the sort that the statute was enacted to prevent.

88.The statute was intended to regulate members of Defendants’ class.

89.As a direct and proximate cause of Defendants’ violation of the statute,

   Plaintiffs have suffered damages which cannot with reasonable certainty be

   divided among several causes.

                                    Punitive Damages
                                     (All Defendants)

90.All of the allegations contained in the preceding paragraphs of this

   Complaint are incorporated by reference herein as if the same were set forth

   in full.

91. Defendants are guilty of actual malice.




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   92.Defendants had knowledge of facts or intentionally disregards facts that

      created a high probability of injury to Plaintiffs and: (1) deliberately

      proceeded to act in conscious or intentional disregard of the high probability

      of injury to Plaintiffs; and/or (2) deliberately proceeded to act with

      indifference to the high probability of injury to Plaintiffs.

                                    IV. Prayer for Relief

WHEREFORE, Plaintiffs claim relief against Defendants, jointly and severally, as
follows:

      a. Judgment against Defendants for general damages in amounts consistent

         with the allegations contained herein and to be established by the

         evidence at trial.

      b. Judgment against Defendants for special damages in amounts consistent

         with the allegations contained herein and to be established by the

         evidence at trial, including the continuing and ongoing harm Plaintiffs

         suffer to this day not only from the abuse itself, but the subsequent

         coverup.

      c. Judgment against Defendants for the costs incurred in prosecuting these

         claims, including reasonable attorneys’ fees.

      d. Punitive damages in amounts consistent with the allegations contained

         herein and to be established by the evidence at trial.


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 e. Pre-judgment and post-judgment interest.

 f. Such other and further relief as the Court deems just and equitable.

                              V.       Jury Demand

 Plaintiffs hereby demand a jury trial on all issues allowed by applicable law.

 DATED this 6th day of January, 2023.

                                                 /s/ Ryan Shaffer
                                                 Robert L. Stepans
                                                 Ryan R. Shaffer
                                                 James C. Murnion
                                                 Attorneys for Plaintiff




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                              AFFIDAVIT OF JAMES ROWLAND

STATE OF MONTANA                              )
                                               ) ss.
COUNTY OF ROSEBUD                              )

The affiant, James Rowland, being duly sworn, states as follows:

1.       I am over the age of 21 years and am competent to and do state the facts and
         matters contained in this affidavit are true and based upon my personal
         knowledge.
2.       In 1969 I was living in Billings, Montana when I joined the Jehovah Witness
         church. I was baptized in 1969 and on or about 1970, after moving to Hardin,
         Montana I became a ministerial seivant. In 1974 I was appointed to the position
         of elder or overseer and on or about 1995 I became a Pioneer.
3.       Around 1974 I first started hearing rumors that Gunner Hain, a member of our
         congregation at the time, was sexually abusing children in the congregation. I
         brought the subject up with other elders, including Martin Svensen, who was
         presiding elder at the time, but nothing was done.
4.       In the late 1970's I heard rumors from church members that elder Harold Rimby,
         Bruce Mapley Sr as well as Martin Svensen himself were sexually abusing
         children in the congregation. In early 1984 our congregation was visted by a
         substitute overseer whose name I can't recall. One day at the Kingdom Hall in
         Hardin, MT I tried to tell the visiting overseer about the problems with child
         molestation and sexual abuse that we had within the congregation in general and
         specifically as it pertained to Martin Svensen and Gunner Hain. Upon hearing
         what I said the overseer jumped up out of his chair, walked up to me and told me
         in a very angry voice not to ever mention the subject of pediphilia again. No
         further action was taken about my complaints. A few months later we had another
         visiting overseer by the name of Milneck. During an elders meeting I brought up
         to him the problem of pediphilia on the part of elders in the congregation
         including Martin Svensen and he too yelled at me and instructed me to never



Affidavit of James Rowland                     -1
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        mention that word in connection with Martin Svensen again. No further action
        was taken on the part of the church.
5.      On or about 1984 the three elders of the Hardin, Montana congregation were
        Martin Svensen, Jeny Baker (Martin Svensen's son in law) and myself. At that
        time Martin Svensen was a veiy powerful person in the congregation. It was his
        resposibility to report cases of child molestation to the police and to investigate
        and discipline members accused of child molestation and sexual abuse but instead
        used his position to down play or cover up allegations including those against
        Gunner Hain, Bruce Mapley and others. When I personally brought up to my
        fellow elder Jerry Baker the fact that his father in law, Martin Svensen, was doing
        horrible things to children and that we had to do something about it Jerry Baker
        told me that because of who his father in law was he couldn't and wouldn't do
        anything about it.
6.      On or about 1988 or 1989 another overseer whose name I can't recall came to the
        congregation. I met with this overseer at the Kingdom Hall in Hardin, MT and
        informed him about the reports of child molestation and sexual abuse at the hands
        of elders Martin Svensen and members Gunner Hain, Bruce Mapley Sr., and
        others that I had heard from members of the congregation. A few days later this
        same overseer drove to my house in Lame Deer, MT and informed me that he had
        a meeting with the brothers in the Hardin congregation and it was decided that I
        should resign as elder and to move out of the congregation. Shortly thereafter I
        left the church.
7.      In the late 1980s or early 1990 I came to learn that all three of my daughters had
        been severely and repeatedly sexually abused and assaulted at the hands of Martin
        Svenensen and Gunner Hain as well as others who performed deviant sexual acts
        at their direction. Had the Jehovah Witness orgainization taken appropriate and
        immediate steps to removed Martin Svensen and Gunner Hain from the
        congregation and report the matter to the police when they were first put on notice
        by me in the late 1970's and early 1980's then my daughters would never had
        been subjected to the horrors they were subjected to. As my faith dictated I told
        the truth and reported what I knew to be true and I was kicked out for it.


Affidavit of James Rowland                     -2
     Case 1:20-cv-00052-SPW Document 189-1 Filed 01/06/23 Page 27 of 47



8.      Further your affiant sayeth not.




Subscribed and sworn to before me this _\_4_·_ _




My Commission Expires: b ' \3 "l.V                           ozoi cl aunr
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Affidavit of James Rowland                 -3
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Exhibit C
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Exhibit A
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Exhibit D
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                                        MONTANA
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                            OF
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                                        CODE s
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                       VOLUME I
                         Part I
         1974 Cumulative Pocket Supplem ent


                          Containing
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     PARALLEL REFERENC E TABLES SUPPLEME NTING
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                                             CAEKAERT/MAPLEY 000316
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                    ABUSED, NEGLECTED AND DEPENDENT YOUTH                            10-1304

    warranted a finding that the children were     parent. Application of Hendrickson, -
    neglected and the entry of an order com-       M - , 496 P 2d 1115.
    mitting them to custody of the state. In         Minor children were dependent and neg-
    re Corneliusen, - M - , 494 P 2d 908.          lected within meaning of the statutory
      A child was properly found dependent         definition, notwithstanding possible fitness
    and neglected based on mother's declara-       of natural mother for their custody, where
    tion in waiver and the consent to adoption     she had acquiesced and permitted 'tliem to
    that she could not provide care and guid-      remain in care and custody of welfare
    ance and could not perform duties of a         department. In re Bad Yellow Hair, -
                                                   M - , 509 P 2d 9, 12.

        10-1302. Jurisdiction and venue. (1) In all matters arising under
    this act, the youth court shall have co:µcurrent jurisdiction with the dis-
    trict courts over all youths who are within the state 0£ Montana £or any
    purpose, or any youth or other person subject to this act who under a
    temporary or permanent order 0£ the court has voluntarily or involuntarily
    removed himself from the state or the jurisdiction 0£ the court, or any
    person who is alleged to have abused, neglected or c~used the depeiidency
    0£ a youth who is in the state 0£ Montana £or any purpose.
        (2) Venue shall be determined pursuant to section 10-1207, R. C. M.
    1947.'
      History: En. 10-1302 by Sec. 3, Ch. 328,
    L. 1974.

       10-1303. Declaration of policy. It is the policy 0£ this state to provide
    for the protection 0£ children whose health and welfare are adversely af-
    fected and further threatened by the conduct of those responsible £or their
    care and protection. It is- intended that the mandatory reporting 0£ such
    cases by professional people and other community members to the appro-
    priate authority will cause the protective services 0£ the state to seek to
    prevent further abuses, protect and enhance the welfare 0£ these children,
    and preserve family life w'herever possible.
      History: En. Sec. 1, Ch. 178, L. 1965;       state to provide for the protection of
    amd. Sec. 1, Ch. 292, L. 1973; Sec. 10-901,    children who have had physical injury or
    R. C. M. 1947; redes, 10-1303 by Sec. 14,      willful neglect inflicted upon them and
    Ch. 328, L. 1974.                              who, in the absence of appropriate reports
                                                   concerning their condition and circum-
      Amendments                                   stances, may be further threatened by the
      The 1973 amendment rewrote this sec-         conduct of' those responsible for their care
    tion which read: "It is the policy of this     and protection."

       10-1304. Reports. Any physician who examines, attends or treats a
    person under the age of majority, or any nurse, teacher, social worker,
    attorney or law enforcement officer or any other person who has reason to
    believe that a child has had serious injury or injuries inflicted upon him
    or her as a result of abuse or neglect, or has been willfully neglected, shall
    report the matter promptly to the department 0£ social and rehabilitation
    services, its local affiliate, and the county attorney 0£ the county w;here the
    child resides. This report shall contain the names and addresses 0£ the child
    and his or her parents or other persons "responsible £or his or her ca.re; to
    the extent known, the child's age, the nature and extent of the child's
    injuries, including any evidence of previous injuries, and any other infor-
    mation that the maker of the report believes might be helpful in establish-
    ing the cause of the injuries or showing the willful neglect and the identity
    of person or persons responsible therefor; and the £acts which led the per-
I                                                271




l                                                                         CAEKAERT/MAPLEY 000317
Case 1:20-cv-00052-SPW Document 189-1 Filed 01/06/23 Page 45 of 47



                          10-1305                 CHILDREN AND CHILD WELFARE

                          son reporting to believe that the child has suffered injury or injuries, or                    hav
                          willful neglect, within the meaning of this act.                                               pro
                            History: En. Sec. 2, Ch. 178, L. 1965;        acting in his or her official capacity"; in-   anc
                          amd. Sec. 2, Ch. 292, L. 1973; Sec. 10-902,     serted "the department of social and re-
                          R. C. M. 1947; redes. 10-1304 by Sec. 14,       habilitation services, its local affiliate,    ap
                          Ch. 328, L. 1974.                               and" before "the county attorney" near
                                                                          the end of the first sentence; substituted     pla
                            Amendments                                    "where the child resides" at the end of
                            The 1973 amendment substituteu "phy-          the first sentence for "where such exam-       car
                          sician" at the beginning of the section         ination is made or such child is located'';
                          for "licensed physician and surgeon, resi-      deleted from the end of the first sentence
                          dent or intern"; substituted "any nurse,        a proviso relating to reports through the      we
                          teacher, social worker, attorney or law         head of an institution; deleted from the       se
                          enforcement officer or any other person"        beginning of the second sentence a clause
                          in the first sentence for "any registered       requiring reduction to writing of reports
                          nurse, practical nurse, any visiting nurse,     initially made verbally; and made minor        w
                          any schoolteacher, or any social worker         changes in phraseology.                        yo
                             10-1305. Action on reporting. If from said report it shall appear that                      L.
                          the child suffered such injury or injuries or willful neglect, the social work-
                          er shall conduct a thorough investigation into the home of the child in-
                          volved and into the circumstances surrounding the injury of the child and                      fil
                          into all other matters which, in the discretion of the social worker, shall be                 al
                          relevant and material to the investigation. If from the investigation it                       ci
                          shall appear that the child suffered such injury or injuries or willful neglect,               n
                          the department shall provide protective services to protect the child and
                          preserve the family. The department will advise the county attorney of its                     h
                          investigation.
                              'fhe investigating social worker shall also furnish a written report to the                b
                          department of social and rehabilitation services who shall have the respon-                    s
                          sibility of maintaining a central registry on child abuse or willful neglect                   n
                          cases.
                            History: En. Sec. 3, Ch. 178, L. 1965;          Amendments                                   1
                          amd. Sec. 3, Ch. 292, L. 1973; Sec. 10-903,        The 1973 amendment rewrote this sec-
                          R. C. M. 1947; redes. 10-1305 by Sec. 14,                                                      s
                                                                          tion to provide for investigation by the
                          Ch. 328, L. 1974.                               social worker and protective services by       1
                                                                          the department rather than investigation
                                                                          by the county attorney.

                           10-1306, 10-1307.    [Transferred from Chapter 9.]
                             Compiler's Notes                             here. Because there has been no change
                             These sections were originally numbered      in text, the sections are not reprinted
                           10-904 and 10-905. Section 14, Ch. 328,        here but may be found in bound Volume
                           Laws of 1974 renumbered them to appear         1, part 2, as secs. 10-904 and 10-905.

                               10-1308. Confidentiality. The case records of the department of social
                           and rehabilitation services, its local affiliate, the county welfare depart-
                           ment, the county attorney and the court concerning actions taken under
                           this act shall be kept confidential unless the court determines that they
                           should be released.
                             History: En. 10-1308 by Sec. 4, Ch. 328,
                           L.1974.

                              10-1309. Emergency protective service, Any social worker of the
                           department of social and rehabilitation services, the county welfare de-
                      i    partment, peace officer or county attorney who has reason to believe any
                      I    youth is in immediate or apparent danger of violence or serious injury shall
                 ,I
                                                                        272




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Case 1:20-cv-00052-SPW Document 189-1 Filed 01/06/23 Page 47 of 47



                  ABUSED, NEGLECTED AND DEPENDENT YOUTH                           10-1305

  fected and further threatened by the conduct of those responsible for their
  care and protection. It is intended that the mandatory rep.orting of such
  cases by professional people and other community members to the appro-
  priate authority will caus.e the protecd.ve services of the state to seek to
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  or her as a result 'of abuse or neglect, or has been willfully neglected, shall
  report the matter promptly to the department of social and rehabilitation
  services, its local affiliate, and the county attorney of the county where the
  child resides. This report shall contain the names and addresses of the child
  and his or her parents or other persons responsible for his or her care; to
  the extent known, the child's age, the nature and extent of the child's
  injuries, including any evidence of previous injuries, and any other infor-
  mation that the maker of the report believes might be helpful in establish-
  ing the cause of the injuries or showing the willful neglect and the identity
  of person or persons responsible therefor; and the facts which led the per-
  son reporting to believe that the child has suffered injury or injuries,. or
  willful neglect, within the meaning of this act.
    History: En. Sec, 2, Ch. 178, L. 1965;      acting in his or her official capacity"; in-
  amd. Sec. 2, Ch. 292, L. 1973; Sec. 10-902,   serted "the department of social and re-
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  for "licensed physician and surgeon, resi-    deleted from the end of the first sentence
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  shall appear that the child suffered such injury or injuries or willful neglect,
  the department shall provide protective services to protect the child and
                                            401




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